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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

    STATE OF TEXAS,

         Plaintiff,

    v.                                                 No. 4:21-cv-0579-P

    JOSEPH R. BIDEN, JR., IN HIS OFFICIAL
    CAPACITY AS PRESIDENT OF THE UNITED
    STATES OF AMERICA, ET AL.,

         Defendants.

                                    ORDER
         Before the Court is the Parties’ Joint Status Report (“Report”). ECF
    No. 103. Having considered the Report and docket entries, the Court
    concludes that any pending deadline in this action should be stayed and
    that the Parties should file a new joint status report. See id.

         The Court therefore ORDERS that all pending deadlines in this case
    are STAYED.

        The Court further ORDERS the Parties file a new joint status report
    to propose the next steps in this case on or before April 7, 2022. Based
    on the Parties’ new joint status report, the Court may schedule an in-
    person scheduling conference to discuss the next steps in this case.

         SO ORDERED on this 24th day of March, 2022.




                      Mark T. Pittman
                      UNITED STATES DISTRICT JUDGE
